          Case 3:24-cv-00267-MMD-CSD          Document 114        Filed 11/15/24     Page 1 of 1




 1                             UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3                                                        Case No.: 3:24-cv-00267-MMD-CSD
     RAYMOND MAX SNYDER,
 4                                                                        Order
             Plaintiff
 5                                                                 Re: ECF No. 58, 59
     v.
 6
     KRISTON N. HILL, et al.,
 7
             Defendants
 8

 9          Defendants Laura Ann Lisk and Ryan Lisk, who are each proceeding pro se, filed a

10 request for direction. (ECF Nos. 58, 59.) They note that Plaintiff has filed numerous motions

11 during the course of this lawsuit, and they do not know what they need to respond to or not.

12          To the extent Defendants filings can be construed as motions, ECF Nos. 58 and 59 are

13 DENIED. District Judge Du addressed these concerns in her minute order dated October 10,

14 2024, noting that Plaintiff filed 23 motions, and given the voluminous filings and nature of the

15 motions, the court sua sponte stayed the case to conserve judicial resources and Defendants’ time

16 in needing to respond to unnecessary filings. District Judge Due will resolve the pending

17 dispositive motions in due course. (See ECF No. 107.)

18 IT IS SO ORDERED.

19 Dated: November 15, 2024

20                                                          _________________________________
                                                            Craig S. Denney
21                                                          United States Magistrate Judge

22

23
